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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  BRIAN HUDDLESTON,


                 Plaintiff,                        CIVIL ACTION No. 4:20CV447

                                                   JUDGE AMOS MAZZANT
                 v.

  FEDERAL BUREAU OF INVESTIGATION
  and UNITED STATES DEPARTMENT OF
  JUSTICE,


                 Defendants.


                DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION

        Defendants file this unopposed motion for extension of time to submit supplemental

 briefing pursuant to this Court’s Order dated August 9, 2024 [Doc. 173].

        The undersigned counsel requests additional time during which to gather more information

 from its agency. Defendants seek an extension up to and including Wednesday, August 28, 2024,

 to submit supplemental briefing.

        This request for extension is not made for purposes of delay, but so that justice may be

 served. Plaintiff’s counsel has indicated that he is unopposed to this motion.

                                              Respectfully submitted,

                                              DAMIEN M. DIGGS
                                              UNITED STATES ATTORNEY

                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney
                                              Texas Bar No. 24065295
                                              110 N. College Ave.; Suite 700



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 19, 2024, a true and correct copy of the foregoing document

 was filed electronically with the court and has been sent to counsel of record via the court’s

 electronic filing system.



                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney




                              CERTIFICATE OF CONFERENCE

        In compliance with Local Rule CV-7(h), undersigned counsel hereby certifies that I have

 conferred with plaintiff’s counsel, and he is unopposed to this motion.



                                              /s/ James Gillingham
                                              JAMES GILLINGHAM
                                              Assistant United States Attorney




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